      Case 2:15-bk-54242                     Doc 51       Filed 05/07/18 Entered 05/07/18 15:35:40                             Desc Main
 Fill in this information to identify the case:           Document     Page 1 of 6
 Debtor 1              Steven R. Szanyi
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                         __________
 United States Bankruptcy Court for the: Southern District     of __________
                                                           of Ohio
                                                      District

 Case number            15-54242
                        ___________________________________________




2IILFLDO)RUP 410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


                   MTGLQ Investors, LP
 Name of creditor: _______________________________________                                                        4
                                                                                     Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                              Date of payment change:
 identify the debtor’s account:                          ____ 3 ____
                                                         8 ____  8 ____
                                                                     1               Must be at least 21 days after date       07/01/2018
                                                                                                                               _____________
                                                                                     of this notice


                                                                                     New total payment:                                764.88
                                                                                                                               $ ____________
                                                                                     Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
       No
      ✔ Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
      
                   the basis for the change. If a statement is not attached, explain why: ___________________________________________
                   __________________________________________________________________________________________________

                                                    235.28
                   Current escrow payment: $ _______________                       New escrow payment:                   226.91
                                                                                                               $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      ✔
          No
          Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:         _______________%                 New interest rate:          _______________%

                   Current principal and interest payment: $ _______________       New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      ✔
          No
          Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                     New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                           page 1
     Case 2:15-bk-54242                        Doc 51             Filed 05/07/18 Entered 05/07/18 15:35:40                           Desc Main
                                                                  Document     Page 2 of 6

Debtor 1         Steven    R Szanyi
                 _______________________________________________________                                           15-54242
                                                                                               Case number (if known) _____________________________________
                 First Name      Middle Name              Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

          I am the creditor.
     ✔
          I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 8/s/ LeAnn E. Covey
     _____________________________________________________________
     Signature
                                                                                               Date    05/07/2018
                                                                                                       ___________________




 Print:             LeAnn E Covey
                    _________________________________________________________                  Title   Attorney  for Creditor
                                                                                                       ___________________________
                    First Name                      Middle Name         Last Name



 Company            Clunk, Hoose Co., LPA
                    _________________________________________________________



 Address            4500 Courthouse Blvd., Suite 400
                    _________________________________________________________
                    Number                 Street

                    Stow                             OH      44224
                    ___________________________________________________
                    City                                                State       ZIP Code



 Contact phone      330-436-0300
                    ________________________                                                   Email bknotice@clunkhoose.com
                                                                                                     ________________________




Official Form 410S1                                                   Notice of Mortgage Payment Change                                           page 2
Case 2:15-bk-54242       Doc 51     Filed 05/07/18 Entered 05/07/18 15:35:40           Desc Main
                                    Document     Page 3 of 6


                                 CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing Notice of Mortgage Payment Change was served

(i) electronically on the date of filing through the court’s ECF System on all ECF participants

registered in this case at the email address registered with the court and

(ii) by ordinary U.S. Mail on May 7, 2018 addressed to:



Steven R. Szanyi
3983 Poppysead Ct.
Columbus, OH 43207




                                                   /S/ LeAnn E. Covey
                                                   LeAnn E. Covey, Esquire
                             Case 2:15-bk-54242                 Doc 51         Filed 05/07/18 Entered 05/07/18 15:35:40 Desc Main
                        Loan Number:                                           Document     Page NEW
                                                                                                  4 ofMONTHLY
                                                                                                       6      PAYMENT IS AS FOLLOWS:
                        Analysis Date: 04/25/2018
                                                                                                             Principal and Interest                             $537.97
                                                                                                             Required Escrow Payment                            $226.91
                                                                                 153   /   N1                Shortage/Surplus Spread                               $.00
                               STEVEN R SZANYI                                                               Optional Program Payment                              $.00
                               3983 POPPYSEED   CT                                                           Buydown or Assistance Payments                        $.00
                               COLUMBUS OH    43207-4630                                                                                                           $.00
                                                                                                             Other

                                                                                                              TOTAL MONTHLY PAYMENT                           $764.88
                                                                                                              NEW PAYMENT EFFECTIVE DATE:                  07/01/2018



                    FOR BORROWERS IN BANKRUPTCY OR BORROWERS WHOSE DEBT HAS BEEN DISCHARGED IN
                    BANKRUPTCY, THIS IS AN INFORMATIONAL STATEMENT AND IT IS NOT AN ATTEMPT TO COLLECT A DEBT.
                    PLEASE NOTE THAT EVEN IF YOUR DEBT HAS BEEN DISCHARGED IN BANKRUPTCY AND YOU ARE NO
                    LONGER PERSONALLY LIABLE ON THE DEBT, THE LENDER MAY, IN ACCORDANCE WITH APPLICABLE LAW,
                    PURSUE ITS RIGHTS TO FORECLOSE ON THE PROPERTY SECURING THE DEBT.

                    Rushmore Loan Management Services has completed an analysis of the escrow account. We have adjusted the mortgage payment to reflect changes
                    in the real estate taxes and/or property insurance. The escrow items to be disbursed from the account are itemized above. If you have questions
                    regarding this analysis, please write to our Customer Service Department at Rushmore Loan Management Services, P.O. Box 55004, Irvine, CA
                    92619, or call toll-free 1-888-504-6700.
                    In the event you utilize a third party to remit your payments, please inform them of the effective date of any change in your payment.

                                                       ANNUAL ESCROW ACCOUNT PROJECTION FOR THE COMING YEAR
                    This is an estimate of activity in the escrow account during the coming year based on payments anticipated to be made from the account.
                                       PAYMENTS TO                                         PAYMENTS FROM                                        ESCROW ACCOUNT
                                     ESCROW ACCOUNT                                        ESCROW ACCOUNT                                            BALANCE
                                                               MIP/PMI         TAXES            FLOOD          HAZ. INS.         SPECIAL     PROJECTED     REQUIRED
                       MONTH
  EF0O E/NCP/7-16




                       STARTING BALANCE                                                                                                       $873.33             $173.56
                       JUL                   $226.91                                                                                         $1100.24             $400.47
                       AUG                   $226.91                                                                                         $1327.15             $627.38
                       SEP                   $226.91                                                                                         $1554.06             $854.29
                       OCT                   $226.91                                                         $801.00                          $979.97             $280.20
                       NOV                   $226.91                                                                                         $1206.88             $507.11
                       DEC                   $226.91                                                                                         $1433.79             $734.02
                       JAN                   $226.91                        $960.93                                                           $699.77               $0.00 *
                       FEB                   $226.91                                                                                          $926.68             $226.91
                       MAR                   $226.91                                                                                         $1153.59             $453.82
                       APR                   $226.91                                                                                         $1380.50             $680.73
                       MAY                   $226.91                                                                                         $1607.41             $907.64
                       JUN                   $226.91                        $960.93                                                           $873.39             $173.62

                     *Indicates a projected low      point of      $699.77    . Under the mortgage contract, state or federal law, the lowest                     monthly
                     balance should not exceed              $.00. The difference   between the projected   low point and the amount required                      is $1,643.16   .
                     This is the surplus.




                             Please keep this statement for comparison with the actual activity in your account at the end of the next escrow accounting computation year.


                    IF THIS ESCROW ANALYSIS INDICATES THAT THERE IS A SURPLUS, IT MAY NOT MEAN THAT YOU ARE
                    ENTITLED TO RECEIVE A RETURN OF THAT SURPLUS. THIS ANALYSIS WAS CALCULATED BASED ON AN
                    ASSUMPTION THAT THE ACCOUNT IS CURRENT ACCORDING TO THE TERMS OF THE NOTE AND
                    MORTGAGE/DEED OF TRUST. IF THE ACCOUNT IS BEHIND, IN DEFAULT, OR IN BANKRUPTCY, THIS ANALYSIS
                    MAY NOT REFLECT THE CURRENT STATE OF THE ACCOUNT OR THE TERMS OF A BANKRUPTCY PLAN. IF
                    THERE ARE ENOUGH FUNDS IN THE ESCROW ACCOUNT AND THE SURPLUS IS $50 OR GREATER, THAT
                    SURPLUS WILL BE MAILED TO YOU WITHIN 30 DAYS, PROVIDED THE ACCOUNT IS CURRENT UNDER THE
                    TERMS OF THE NOTE AND MORTGAGE/DEED OF TRUST.




                    LOAN NUMBER:                                                                                           SURPLUS AMOUNT:                 $1,643.16

                    NAME: STEVEN R SZANYI


                    IF THERE ARE ENOUGH FUNDS IN THE ACCOUNT TO DISBURSE THE PROJECTED OVERAGE AND THE ACCOUNT
                    IS CURRENT, THEN THE REFUND WILL BE MAILED TO YOU WITHIN 30 DAYS.
                 PROJECTED      ACTUAL               PROJECTED         ACTUAL              DESCRIPTION            PROJECTED        ACTUAL
MONTH
STARTING BAL.                                                                                                         $0.00        $287.59-
 NOV   Case 2:15-bk-54242   Doc 51
                       $494.70*                    Filed 05/07/18 Entered 05/07/18 15:35:40                         Desc
                                                                                                                     $0.00 Main $207.11
 DEC                           $235.28*            Document     Page 5 of 6                                           $0.00        $442.39
 JAN                           $235.28*                             $960.93*                COUNTY/PARIS              $0.00        $283.26-
 FEB                           $470.56*                                                                               $0.00        $187.30
 MAR                           $235.28*                                                                               $0.00        $422.58
 APR                           $941.12*                                                                               $0.00       $1363.70
 MAY                           $235.28*                                                                               $0.00       $1598.98
 JUN                           $235.28*                             $960.93*                COUNTY/PARIS              $0.00        $873.33

OVER THIS PERIOD, AN ADDITIONAL               $.00 WAS     DEPOSITED INTO THE ESCROW ACCOUNT FOR INTEREST ON ESCROW.

The actual lowest monthly balance was less than              $.00. The items with    an asterisk on the account   history   may
explain this, if you would like a further explanation,   please call our toll-free   number:    1-888-504-6700.
Case 2:15-bk-54242     Doc 51       Filed 05/07/18 Entered 05/07/18 15:35:40     Desc Main
                                    Document     Page 6 of 6


                 P.O. Box 55004                      ANTICIPATED ESCROW ACCOUNT DISBURSEMENTS
                 Suite 100
                 Irvine, CA 92619

                 www.rushmorelm.com




 FOR BORROWERS IN BANKRUPTCY OR BORROWERS WHOSE DEBT HAS BEEN
 DISCHARGED IN BANKRUPTCY, THIS IS AN INFORMATIONAL STATEMENT AND IT IS
 NOT AN ATTEMPT TO COLLECT A DEBT. PLEASE NOTE THAT EVEN IF YOUR DEBT
 HAS BEEN DISCHARGED IN BANKRUPTCY AND YOU ARE NO LONGER PERSONALLY
 LIABLE ON THE DEBT, THE LENDER MAY, IN ACCORDANCE WITH APPLICABLE LAY,
 PURSUE ITS RIGHTS TO FORECLOSE ON THE PROPERTY SECURING THE DEBT.


 IF THIS ESCROW ANALYSIS INDICATES THAT THERE IS A SURPLUS, IT MAY NOT MEAN
 THAT YOU ARE ENTITLED TO RECEIVE A RETURN OF THAT SURPLUS. THIS ANALYSIS
 WAS CALCULATED BASED ON AN ASSUMPTION THAT THE ACCOUNT IS CURRENT
 ACCORDING TO THE TERMS OF THE NOTE AND MORTGAGE/DEED OF TRUST. IF THE
 ACCOUNT IS BEHIND, IN DEFAULT, OR IN BANKRUPTCY, THIS ANALYSIS MAY NOT
 REFLECT THE CURRENT STATE OF THE ACCOUNT OR THE TERMS OF A BANKRUPTCY
 PLAN. IF THERE ARE ENOUGH FUNDS IN THE ESCROW ACCOUNT AND THE SURPLUS IS
 $50 OR GREATER, THAT SURPLUS WILL BE MAILED TO YOU WITHIN 30 DAYS, PROVIDED
 THE ACCOUNT IS CURRENT UNDER THE TERMS OF THE NOTE AND MORTGAGE/DEED OF
 TRUST.

 *If there is an amount listed in the “Actual” column under Payments To Escrow Account on
 Page 2 above, then this is the assumption that was made and indicates the amount that
 would have been paid into escrow for a contractually current loan. This number does not
 represent payments that were actually made by you. As discussed above, these escrow
 calculations are calculated based on an assumption that the account would be current
 according to the terms of the note and mortgage/deed of trust.
